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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------------X
      UNITED STATES OF AMERICA
                                                                                   MEMORANDUM & ORDER

                                                                                      08-CR-888 (NGG) (VVP)
                    -against-


      VICTOR ACOSTA BOURNE and MARIA
      ALLEYNE,
                                      Defendants.
  -------------------------------------------------------------------X
  NICHOLAS G. GARAUFIS, United States District Judge.

           Defendant Victor D’Acosta Bourne (“Bourne”) is charged in a superseding indictment

  with various crimes stemming from his alleged participation in a Drug Trafficking Organization

  (“DTO” or the “Bourne Organization”), and Defendant Marie Alleyne (“Alleyne”) is charged

  with various crimes related to her alleged involvement in money laundering and structuring the

  proceeds of the DTO. (See S-5 Superseding Indictment (“S-5 Indictment”) (Docket Entry

  # 228).) The parties have made numerous pretrial motions,1 and the court heard argument on

  several of these motions on August 26, 2011 (see Pretrial Mot. Hearing Tr.) and September 13,

  2011 (see Suppression Hearing Tr.). On September 13, 2011, the court also held a suppression

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           While the following is not an exhaustive list of the papers filed in support of and in opposition to the
  parties’ motions addressed herein, all filings cited in this order are listed below in chronological order. Bourne Mot.
  to Compel (Docket Entry # 172); Alleyne Notice of Mot. to Suppress (Docket Entry # 179); Alleyne Affidavit
  (Docket Entry # 179-3 Exh. B); Warrant Application (Docket Entry # 179-3 Exh. C); Alleyne Mem. (Docket Entry
  # 179-4); Bourne Mot. (Docket Entry # 180); Bourne Compel Letter (Docket Entry # 181); Gov’t Opp. to Wiretap
  Discovery (Docket Entry # 182); Gov’t Opp. Alleyne (Docket Entry # 186); Gov’t Mem. Opp. Bourne (Docket
  Entry # 187); Def. Letter re Expert (Docket Entry # 204); Gov’t 404(b) Mot. (Docket Entry # 205); Bourne Letter re
  Pro Se Mot. (Docket Entry # 208); Bourne 404(b) Opp. (Docket Entry # 213); Gov’t Opp. re Expert (Docket Entry #
  215); Gov’t Mot. in Limine (Docket Entry # 219); Alleyne Post-Hearing Letter (Docket Entry # 223); Bourne Post-
  Hearing Letter (Docket Entry # 224); Gov’t 404(b) Reply (Docket Entry # 226); Gov’t Post-Hearing Submission
  (Docket Entry # 227); Gov’t Opp. to Pro Se Mot. (Docket Entry # 229); Alleyne Opp. to Motion in Limine (Docket
  Entry # 230); Bourne Opp. to Mot. in Limine (Docket Entry # 231); Alleyne Response to Gov’t Post-Hearing
  Submission (Docket Entry # 234).


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  hearing related to Alleyne’s Motion to Suppress. (Suppression Hearing Tr.; Alleyne Notice of

  Mot. to Suppress (Docket Entry # 179).) As set forth below, the parties’ pretrial motions are

  granted in part and denied in part.

  I.       BACKGROUND

           The Fifth Superseding Indictment (“S-5 Indictment”) charges that Bourne, while

  employed as a fleet service clerk for American Airlines at John F. Kennedy International Airport

  (“JFK”), “was the principal leader of a narcotics trafficking organization and continuing criminal

  enterprise operating in the New York metropolitan area and the Caribbean,” (the “Bourne

  Organization”). (S-5 Indictment ¶ 6.) The Government alleges that between 2000 and 2009, the

  Bourne Organization smuggled over 150 kilograms of cocaine into the United States from

  destinations in the Caribbean by hiding it aboard American Airlines flights to JFK. (Id. ¶¶ 8-10.)

  It further alleges that the Bourne organization distributed cocaine and over 5,000 kilograms of

  marijuana both domestically and internationally, and that distribution occurred in part through a

  footwear business in Brooklyn, New York and another business in Barbados. (Id. ¶ 8, 11.) The

  S-5 Indictment charges that Alleyne conspired with Bourne to structure transactions with

  financial institutions, and to engage in monetary transactions designed to conceal the proceeds of

  the Bourne Organization’s drug trafficking. (Id. ¶¶ 12-13.)

           Bourne is charged with the following crimes: engaging in a continuing criminal

  enterprise, in violation of 21 U.S.C. § 848;2 one count of cocaine importation conspiracy, in

  violation of 21 U.S.C. §§ 963, 960(a)(1), 960(b)(1)(B)(ii); one count of conspiracy to distribute



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    The alleged continuing series of violations, as defined by 21 U.S.C. § 848(c), include (1) conspiracy to import
  cocaine, (2) conspiracy to distribute cocaine, (3) cocaine importation, (4) attempted possession of cocaine with
  intent to distribute, (5) international marijuana distribution conspiracy, (6) attempted international distribution of
  marijuana, (7) cocaine importation, (8) possession of cocaine with intent to distribute, (9) cocaine importation, (10)
  possession of cocaine with intent to distribute, (11) cocaine importation, and (12) attempted possession of cocaine.
  (S-5 Indictment ¶¶ 16-27.)

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  cocaine, in violation of 21 U.S.C. §§ 846, 841(b)(1)(A)(ii)(II); four counts of cocaine

  importation, in violation of 21 U.S.C. §§ 952(a), 960(a)(1), 960(b)(1)(B)(ii); two counts of

  possession of cocaine with intent to distribute, in violation of 21 U.S.C. §§ 841(a)(1),

  841(b)(1)(A)(ii)(II); two counts of attempted possession of cocaine with intent to distribute, in

  violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii)(II); one count of international marijuana

  distribution conspiracy, in violation of 21 U.S.C. §§ 963, 959(c), 960(b)(1)(G); one count of

  attempted international marijuana distribution conspiracy, in violation of 21 U.S.C. §§ 963, 959,

  960(b)(2)(G); and, one count of conspiracy to distribute marijuana, in violation of 21 U.S.C. §§

  846, 841(b)(1)(B)(vii). Both Bourne and Alleyne are charged with: one count of money

  laundering conspiracy, in violation of 18 U.S.C. § 1956(h); and, one count of structuring

  conspiracy, in violation of 31 U.S.C. § 5324(d)(2). Alleyne is charge with six counts of

  structuring, in violation of 31 U.S.C. §§ 5324(a)(3), (d)(1).

  II.    DEFENDANTS’ PRETRIAL MOTIONS

         A.      Alleyne’s Motion to Sever

         Alleyne moved to sever the charges against her from those against Bourne. (Alleyne

  Mem. (Docket Entry # 179-4) at 2-5.) Alleyne argues that she will suffer spillover prejudice

  from the evidence introduced against Bourne because whereas she is charged with money

  laundering and structuring charges, he faces narcotics trafficking charges. (Id. at 2-4.) Alleyne

  contends that the jury will not be able to separate out the allegations against her from the

  “veritable mountain of evidence having nothing whatever to do with [her] finance type charges,”

  and that “the sheer number of conspiracies” charged will confuse the jury. (Id. at 4.)

         At the August 26, 2011 hearing, the court denied Alleyne’s Motion to Sever. (Pretrial

  Mot. Hearing Tr. at 28.) This decision is because the court “should grant a motion for severance



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  only if there is a serious risk that a joint trial would compromise a specific trial right of the

  moving defendant or prevent the jury from making a reliable judgment about guilt or innocence.”

  United States v. Miller, 116 F.3d 641, 679 (2d Cir. 1997) (quotation marks omitted); see also

  Fed. R. Crim. Pro. 14(a) (district court may sever defendants’ trials where joinder “appears to

  prejudice a defendant or the government”). Although cases may arise “in which the sheer

  volume and magnitude of the evidence against one defendant so dwarfs the proof presented

  against his co-defendant that a severance is required to prevent unacceptable spillover

  prejudice,” United States v. Spinelli, 352 F.3d 48, 55 (2d Cir. 2003), “differing levels of

  culpability and proof are inevitable in any multi-defendant trial and, standing alone, are

  insufficient grounds for separate trials,” United States v. Carson, 702 F.2d 351, 366-67 (2d Cir.

  1983).

           Here, what Alleyne characterizes as spillover prejudice is actually direct evidence of the

  money laundering charge against her. The S-5 Indictment charges that Alleyne conspired with

  Bourne to structure financial transactions and launder the proceeds of Bourne’s alleged drug

  trafficking conspiracy. (S-5 Indictment ¶¶ 55, 57-58.) Because the Government must prove that

  Alleyne conspired to conceal the proceeds of drug trafficking, see 18 U.S.C. § 1956(a)(1),3 much

  of the drug evidence against her coconspirator, Bourne, will be directly admissible against her.

  See United States v. Rosa, 11 F.3d 315, 341 (2d Cir. 1993) (“Evidence at the joint trial of alleged

  coconspirators that, because of the alleged conspiratorial nature of the illegal activity, would

  have been admissible at a separate trial of the moving defendant is neither spillover nor

  prejudicial.”); Spinelli, 352 F.3d at 55 (“Joint trials are often particularly appropriate in


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            Specifically, the Government must prove, inter alia, that Defendant has conducted a financial transaction
  with the proceeds of a known unlawful activity with the intent to “promote the carrying on of specified unlawful
  activity” or to conceal the nature, location, source, ownership or control of the proceeds of the activity. 18 U.S.C.
  § 1956(a)(1).

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  circumstances where the defendants are charged with participating in the same criminal

  conspiracy.”). Additionally, even if some evidence admissible against Bourne would be

  inadmissible against Alleyne, Alleyne has not identified any specific evidence that will cause her

  substantial prejudice if it is introduced against Bourne at trial. Carson, 702 F.2d at 367 (“[T]he

  fact that evidence may be admissible against one defendant but not another does not necessarily

  require a severance.”); Spinelli, 352 F.3d at 55 (holding that a defendant must demonstrate that

  she suffered substantial prejudice from the introduction of evidence against a co-defendant that

  would be inadmissible against her). Moreover, the court will be able to remedy any spillover

  prejudice by instructing the jury to consider the charges and evidence against each defendant

  separately. See Miller, 116 F.3d at 679. Alleyne may supplement her proposed jury instructions

  with an instruction to this effect.

          B.       Alleyne’s Motion to Suppress Evidence Obtained From Her Residence

          Alleyne moves to suppress the fruits of the search of her residence at 848 Linden

  Boulevard, Brooklyn, New York, which occurred on the morning of October 14, 2010.4

  (Alleyne Mem. at 6-10.) Alleyne contends that, after arresting her outside of her home, agents

  conducted an unlawful warrantless search of her residence, and relied on information obtained

  through that search to later obtain a search warrant. (Id.) In support of her position, Alleyne

  submits a sworn affidavit, which describes the events surrounding the search as follows:

                  3. On October 14, 2010, at approximately 8:00 a.m., I returned to my
          home after taking my daughter Ashlyn to school. Law enforcement agents were
          waiting for me outside my home. One of the agents pulled me by the arm and
          insisted on entering my home without my permission or consent. Once inside, the

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            Bourne seeks to join in Alleyne’s motion to suppress, arguing that he also has standing to challenge the
  search. (Bourne Mot. (Docket Entry # 180) at 2; Bourne Post-Hearing Letter (Docket Entry # 224).) Bourne has not
  testified or submitted a sworn affidavit, but relies on the suppression hearing testimony elicited from Government
  witnesses in support of his position. Because Bourne’s challenge is premised on the same argument as Alleyne’s,
  and because the court finds that the search of Alleyne’s residence complies with the Fourth Amendment, the court
  need not resolve the standing issue here. Bourne’s motion to suppress, like Alleyne’s, is denied.

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           agents started searching for evidence. During their search the agents read through
           my records and documents before labeling some of them and then placing them in
           a plastic bag. When I protested to the agents that they did not have a warrant to
           search my home and take the documents, one of them told me that they didn’t
           need a search warrant because the documents were in “plain view.”

                   4. Several hours after taking the documents from my home without a
           search warrant, the agents returned to my home with a search warrant and took
           other items including additional records and documents.

  (Alleyne Affidavit (Docket Entry # 179-3 Exh. B) at ¶¶ 3-4.)

           The Government opposes this motion, arguing (1) that Alleyne consented to the agents

  accompanying her into her home after her arrest, and (2) that once the agents were inside the

  residence, the incriminating evidence that formed the basis for their warrant application was in

  plain view.5 (Gov’t Opp. Alleyne (Docket Entry # 186).) On September 13, 2011, the court held

  a suppression hearing, at which two agents involved in Alleyne’s arrest and in the search of her

  home testified. (See Suppression Hearing Tr.) The court found the testimony of both agents

  forthright and credible, and credits their testimony as set forth below.

                    1.       Facts

           At the suppression hearing, the court heard the testimony of Agents Jerry DiNapoli and

  Andrew Goldstein of Homeland Security Investigations (“HSI”). (See Suppression Hearing Tr.)

  Agent DiNapoli provided testimony relevant to the issue of Alleyne’s consent to enter her home.

  Agent Goldstein provided testimony about to evidence that was recovered from within Alleyne’s

  residence, which formed the basis for the Government’s subsequent search warrant application.


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            In the warrant application, Special Agent Robert W. Buonaspina of the Department of Homeland Security
  stated that several items “in plain view” gave rise to probable cause to believe Alleyne’s residence contained fruits,
  instrumentalities, and evidence of illegal activity. (Warrant Application (Docket Entry # 179-3 Exh. C) ¶ 20.)
  Specifically, Agent Buonaspina states that agents noticed items including “multiple cellular phones and check books
  that were not in Alleyne’s names, as well as numerous bankers boxes and what appeared to be financial documents.”
  (Id. ¶ 16.) Agents also seized three documents, which the application also describes as in plain view: a lease for a
  rental property that listed Alleyne as the owner, a document reflecting the international travel of a cooperating
  government witness, and an envelope with handwritten notes including the words “Customs” and “Enforcement”
  and a Barbadian telephone number. (Id. ¶¶ 17-19.)

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         Agent DiNapoli was the team leader involved Alleyne’s arrest. (Id. at 7 (stating that six

  to eight agents were assigned to the arrest).) He arrived at 848 Linden Boulevard at

  approximately 7:00 a.m. on the day of the arrest. (Id. at 8-9.) He watched Alleyne leave her

  home (apparently to take her daughter to school) and return at approximately 10:00 a.m. (Id. at

  9, 11.) When Alleyne returned, she backed her car into her driveway and Agent DiNapoli

  approached the vehicle. (Id. 11-13.) Alleyne did not respond initially, and remained in the

  vehicle while she spoke on her cell phone. (Id. at 14.) When Agent DiNaopli knocked on the

  driver’s side window and informed Alleyne that he had a warrant for her arrest, she exited the

  vehicle. (Id. at 14-15.) Standing outside, a few feet from the car, Agent DiNapoli told Alleyne

  that she was under arrest and explained what would happen to her next. (Id.at 15-17.) He did

  not handcuff Alleyne or physically touch her at any time. (Id. at 15, 18.) Agent DiNapoli was

  the only agent to speak to Alleyne. (Id.) He testified that her demeanor was calm throughout

  their conversation. (Id.)

         Agent DiNapoli described his interaction with Alleyne, prior to the agents’ entrance into

  her residence, as follows:

         A: I told her that she would be taken to our office where we would ask her a
         number of questions, like her full name, social security number, all of the
         information we need for our paperwork, and that later that day she would then be
         taken to the Eastern District of New York for her arraignment.

         Q: What was her response?

         A: She was just like okay.

         Q: What if anything happened next?

         A: I noticed that she was wearing a lot of jewelry and that she had a medium size
         to large woman's handbag. I asked her if she would want to come with us now
         and take all of that stuff with her, or if she would rather go in the house and drop
         the stuff off and leave it there.



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       ...

       Q: Now, why did you give her this option of—

       A: I didn’t want to be responsible for all of the stuff that she had. She had a lot of
       gold—what appeared to me to be gold. I didn’t know what was inside the bag. It
       seemed like a lot of extra stuff we didn’t need to deal with that day. So it would
       be better off to let the person drop it off, if possible.

       Q: Why was that?

       A: So we weren’t accountable. We wouldn’t lose anything. If it doesn’t have
       any evidentiary value, we don’t need it.

       Q: And prior arrests you presented this option before. Why is that?

       A: For the same reasons. I didn’t want to be accountable for other people’s
       property.

       Q: [When] presented with the option of leaving her things or going right then,
       what was her response?

       A: She said—she asked me if you want to go in my house, is what she said to me,
       and I told her, I said, that's totally up to you. You can go with me now or go
       upstairs with you, meaning the other agents involved in the arrest, because you
       are under arrest and we have to escort you.

       Q: And what was her response after you said that to her?

       A: She thought about it for a couple of seconds and she agreed.

       Q: Now, that option that you just stated, how many times did you present this
       option to her?

       A: Once.

       Q: Did she ever tell you you can’t enter her house?

       A: No.

       ...

       Q: And what happened after this was explained to her?

       A: Well, she thought about it and she agreed to go up. She said she wanted to put
       her stuff away and she agreed to let us go in.

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  (Id. at 16-18.) Agent DiNapoli further testified, that Alleyne appeared to understand

  what he was saying, that the conversation was calm and polite, that he did not threaten

  Alleyne, and that she did not ask any additional questions or voice concerns about

  entering her home. (Id. at 18-19, 42-43.)

          Following this conversation, Alleyne entered the house accompanied by several

  agents. (Id. at 19.) She unlocked the door using her own key, and two agents remained

  on the lower floor while one to two others accompanied Alleyne upstairs to her bedroom.

  (Id.)

          Agent Goldstein, the case agent then-assigned to Alleyne’s case, was one of the officers

  who entered her residence following her arrest. (Id. at 55.) He remained on the lower floor

  while other agents accompanied Alleyne upstairs. Agent Goldstein testified that when he entered

  Alleyne’s residence, he saw the following:

          A: When you walk into the apartment, it is essentially the dining room. Right in
          front of me almost immediately was a large dining room table which was covered
          with documents, checkbooks—let’s see, papers, correspondence that appeared to
          be from banks. On the other side of the table was a large I guess a china cabinet.
          Again there were documents on that. To the left as you entered the apartment,
          you have to turn left, and there’s a computer hutch. Next to that were bankers’
          boxes. To the left—actually, if you go straight through the dining room, the
          kitchen is on the other side. I did not enter the kitchen.
                  Behind you is what would be the living room of the apartment. Again in
          this area I noticed that there were multiple boxes that appeared to be filled with
          documents. There were multiple cell phones lying about. There were check
          registers that were closed. Again I saw more documents that appeared to—
          correspondence that appeared to be from ba[nk]s.

  (Id. at 55-56.) Agent Goldstein had been involved in the investigation of Alleyne and Bourne

  since 2008, and was familiar with the case. (Id. at 46-47.) He testified that he believed that what

  he observed in Alleyne’s apartment was consistent with illegal activity:




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       A: In my experience with narcotics investigations, people that are involved in
       narcotics and money laundering routinely have multiple cell phones and multiple
       bank accounts in which to conduct business in order to hide their profits or their
       activities from observation.

Agent Goldstein took photographs of Alleyne’s home as he observed it. (Id. at 57; Gov’t Exh. 2,

3, 4, 5, 6.) He testified that the photographs accurately represent the room as he first saw it, and

that he took the photographs before picking up or moving any item. (Suppression Hearing Tr. at

59, 73, 88.) Agent Goldstein also seized three documents from Alleyne’s home. (Suppression

Hearing Tr. at 58-59; Gov’t Exh. 9-12.) As shown in the photographs Agent Goldstein took,

these documents were legible as they lay. (See Gov’t Exh. 2, 3, 4, 5, 6.) Agent Goldstein

testified that these items were immediately visible, and that he was able to comprehend their

significance without touching or manipulating them. (Suppression Hearing Tr. at 93.) The

Government relied on this information, including the three documents Agent Goldstein seized, in

successfully applying for a search warrant for Alleyne’s home. (See id. at 74; Warrant

Application (Docket Entry # 179-3 Exh. C).)

       At the suppression hearing, Defendants provided no witnesses to rebut any of the agents’

testimony, relying instead solely on Alleyne’s affidavit.

               2.      Consent

       Although a warrantless search or seizure is ordinarily prohibited under the Fourth

Amendment, such a search or seizure is permissible where “the authorities have obtained the

voluntary consent of a person authorized to grant such consent.” United States v. Elliott, 50 F.3d

180, 185 (2d Cir. 1995).

       Voluntariness is determined by reference to the totality of all the circumstances.
       While more than mere acquiescence in a show of authority is necessary to
       establish the voluntariness of a consent, the fact that a person is in custody or has
       been subjected to a display of force does not automatically preclude a finding of
       voluntariness.

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United States v. Snype, 441 F.3d 119, 131 (2d Cir. 2006) (quotation marks and internal citations

omitted). Defendants “can, and often do, consent to a search even when it must be clear to them

that incriminating evidence will be disclosed.” United States v. Price, 599 F.2d 494, 503 (2d Cir.

1979.) Where it claims that a defendant consented, the Government “bears the burden of

proving by a preponderance of the evidence that the consent was voluntary.” Snype, 441 F.3d at

131.

       Here, the Government has met its burden of proving that the agents initially entered

Alleyne’s residence with her voluntary consent. Agent DiNapoli’s credible testimony establishes

that he presented Alleyne with a choice of whether or not to enter her home accompanied by

agents. Alleyne had a brief, polite conversation with one agent while standing outside of her

home in broad daylight. Alleyne was not handcuffed or threatened, and—in light of Agent

DiNapoli’s testimony to the contrary—the court does not credit Alleyne’s contention that an

agent “pulled” her by the arm. Contrary to defense counsel’s contention, the fact that Alleyne

may have been uncooperative in other stages of her arrest does not undermine her consent at this

point. (See Alleyne Post-Hearing Letter (Docket Entry # 223).) Agent DiNapoli provided

Alleyne with two options, and she opted to enter her home and set down her belongings. She

informed the agent of this decision, produced keys to her residence, and unlocked the doors for

herself and the agents. In light of the totality of the circumstances, the court finds that Alleyne

gave consent to enter her home voluntarily.

               3.      Plain View

       The Government argues that the agents’ warrantless seizure of documents from within

Alleyne’s home was justified under the plain view doctrine. Alleyne claims that the

incriminating evidence agents found during their entrance to her home were not in plain view.



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(See Alleyne Mem. at 6-10; Alleyne Response to Gov’t Post-Hearing Submission (Docket Entry

# 234).)

      Under [the plain view] doctrine, if police are lawfully in a position from which
      they view an object, if its incriminating character is immediately apparent, and if
      the officers have a lawful right of access to the object, they may seize it without a
      warrant. If, however, the police lack probable cause to believe that an object in
      plain view is contraband without conducting some further search of the object—
      i.e., if ‘its incriminating character [is not] immediately apparent,’—the plain-view
      doctrine cannot justify its seizure.
Minnesota v. Dickerson, 508 U.S. 366, 375 (1993) (quoting Horton v. California, 496 U.S. 128,

136 (1990)).

       Here, Agent Goldstein’s testimony—in conjunction with the photographs that he took of

the interior of Alleyne’s residence—provides a sufficient basis for finding that the three seized

documents, and other evidence referenced in the search warrant application, were in plain view.

Agent Goldstein credibly testified that the documents were legible as they lay, and that he did

not touch or manipulate items within Alleyne’s home. The incriminating nature of these

documents were immediately apparent to him, based on his law enforcement experience and his

knowledge of this case. There is no evidence whatsoever that Agent Goldstein conducted any

further search of the premises that exceeded the bounds of the plain view doctrine.

       Because Alleyne consented to agents entering her home and because incriminating items

were in plain view once they did so, Alleyne’s motion to suppress is denied.

       C.      Defendants’ Motion to Exclude Expert Testimony on Money Laundering

       By letter dated August 15, 2011, the Government notified the Defendants that it intends

to introduce the expert testimony of Detective Sergeant Frank J. DiGregorio on the means and

methods that drug traffickers use to launder money. (See Def. Letter re Expert (Docket Entry #

204) at 1; Gov’t Opp. re Expert (Docket Entry # 215) at 4.) Sergeant DiGregorio is a retired

New York Police Department Officer who is currently employed as a Sergeant with the Queens

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County District Attorney. (See Gov’t Opp. re Expert, Exh. A (DiGregorio Resume).) In this

capacity, and as a member of an interagency task force, Sergeant DiGregorio’s “primary function

is to investigate money laundering.”6 (Id.) Sergeant DiGregorio has been qualified as an expert

witness in state and federal court approximately ten times in the past several years, including in

the Eastern and Southern Districts of New York. (Id.; Gov’t Opp. re Expert at 4.)

          Defendants filed a motion in limine seeking to exclude Sergeant DiGregorio’s expert

testimony on money laundering, under Federal Rules of Evidence 702 and 403. (Def. Letter re

Expert.) The Government opposes this motion. (Gov’t Opp. re Expert.)

                   1.      Rule 702

          Federal Rule of Evidence 702 governs expert testimony. The Rule provides:

          If scientific, technical, or other specialized knowledge will assist the trier of fact
          to understand the evidence or to determine a fact in issue, a witness qualified as
          an expert by knowledge, skill, experience, training, or education, may testify
          thereto in the form of an opinion or otherwise, if (1) the testimony is based upon
          sufficient facts or data, (2) the testimony is the product of reliable principles and
          methods, and (3) the witness has applied the principles and methods reliably to
          the facts of the case.

Fed. R. Evid. 702. Defendants suggest that Sergeant DiGregorio’s proposed testimony should be

excluded because it is not specialized knowledge that will assist the trier of fact. (Def. Letter re

Expert at 2 (arguing that “it is not at all apparent that jurors require . . . expert ‘assistance’ in

order to evaluate the evidence” of money laundering or structuring.)

          The court disagrees. The Government must prove the money laundering and structuring

charges at trial, and it states that Sergeant DiGregorio would provide testimony on topics

including “the means and methods used by drug traffickers to launder drug proceeds”; the means

through which “drug proceeds are hidden” including “trade-based money laundering, that other

individuals are used as straw purchasers of property and holders of assets and that cash is used to
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    Sergeant DiGregorio’s investigation focuses primarily on the Colombian Black Market Peso Exchange. (Id.)

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pay for goods and services in a manner designed to avoid use of the banking system”; and “the

use of structuring as a means to avoid transaction reporting requirements.” (Gov’t Opp. re

Expert at 4-5.) Methods of money laundering and structuring are not self-evident to a layperson,

and the court finds that expert testimony on these topics would be helpful to jurors in this case.

       Additionally, courts in this circuit have repeatedly approved of the use of expert

testimony to assist jurors in understanding money laundering techniques, including in the context

of drug trafficking organizations. See, e.g., United States v. Tapia-Ortiz, 23 F.3d 738, 740-41

(2d Cir. 1994) (approving use of expert testimony on drug trafficking, including the use of cash

and means of accounting in order to conceal profits); United States v. Daccarett, 6 F.3d 37, 58

(2d Cir. 1993) (approving DEA agent’s provision of expert testimony on money laundering);

United States v. All Funds on Deposit in Any Accounts Maintained at Merrill Lynch, Pierce,

Fenner & Smith, 801 F. Supp. 984, 997 (E.D.N.Y. 1994) (“Sophisticated drug money-laundering

activities, such as those relied upon by claimants, are a proper subject for expert testimony. The

methods of moving of currency internationally and the maintaining of corporate and bank

records are not subjects easily understood without some expert assistance.”). Therefore, the

court finds that Sergeant DiGregorio’s proposed expert testimony relates to scientific, technical

or other specialized knowledge that will assist the jury in this case, and should not be excluded

pursuant to Rule 702.

               3.       Rule 403

       Defendants further argue that even if the Government has identified a proper area of

expert testimony under Rule 702, Sergeant DiGregorio’s proposed testimony should be excluded

because it is more prejudicial than probative, and would work only to bolster the Government’s

case. Federal Rule of Evidence 403 provides that even relevant evidence “may be excluded if its



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probative value is substantially outweighed by the danger of unfair prejudice, confusion of the

issues, or misleading the jury.” Fed. R. Evid. 403; see also Part III(A)(1)(c) infra. Here, the

probative value of Seargeant DiGregorio’s testimony—which will elucidate subjects that would

be difficult to understand without expert assistance—has probative value sufficient to outweigh

danger of unfair prejudice. The Government will not use Sergeant DiGregorio as a fact witness

or ask him to testify about the facts of this case (Gov’t Opp. re Expert at 8), and any danger of

prejudice is minimal. The court finds that this expert testimony should not be excluded under

Rule 403. Defendants’ motion is therefore denied.

       D.      Bourne’s Motions Regarding Wiretap Evidence

       From January to March 2006, the Government obtained five judicial orders authorizing

wiretaps of telephones registered to Bourne’s alleged coconspirators. (Gov’t Mem. Opp. Bourne

(Docket Entry # 187) Exh. A, B, C, D, E.) Each of these orders was issued by The Honorable

John Gleeson of the United States District Court for the Eastern District of New York. (Id.)

Three of these orders, issued in January, February and March 2006, authorized wiretaps of a

telephone registered to Oneal Roberts, based on affidavits signed by Special Agent Jason Mount

of the Department of Homeland Security, Immigration and Customs Enforcement (“ICE”).

(Gov’t Mem. Opp. Bourne Exh. A, B, C; Gov’t Mem. Opp. Bourne at 3-4.) Two orders, issued

in March and April 2006, authorized wiretaps of a telephone registered to Clive Beckford, based

on affidavits signed by Special Agent Heather Shand of ICE. (Gov’t Mem. Opp. Bourne Exh. D,

E; Gov’t Mem. Opp. Bourne at 3-4.) During the period that these five wiretaps were active,

Bourne was recorded on calls to and from the subject telephones. (Bourne Mem. at 7; Gov’t

Mem. Opp. Bourne at 3-4.)




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       Bourne has filed two motions related to these recordings. First, Bourne filed a motion to

compel the Government to allow his expert to inspect the wiretap equipment and original

recordings in order to determine whether there are signs of tempering or other flaws in the

recordings that would undermine their admissibility. (Bourne Mot. to Compel (Docket Entry #

172) at 1; see also Bourne Compel Letter (Docket Entry # 181).) Second, Bourne moves to

suppress the wiretap evidence. (Bourne Mem. at 7-9.)

               1.     Motion to Compel Discovery

       The Government has provided Bourne with a CD containing copies of the wiretaps at

issue. (See Bourne Compel Letter at 1.) Bourne contends that his expert’s inspection of these

copies raised “certain questions . . . as to the integrity of the embedded computer information.”

(Id.) Consequently, Bourne moved to compel the Government to allow his expert to inspect the

original tapes and wiretap equipment in order to determine whether “the government has

tampered with the wiretap evidence and has fabricated telephone records.” (Id.)

       The Government has agreed to allow Bourne’s expert to inspect the original recordings in

the Government’s presence. (Gov’t Opp. to Wiretap Discovery (Docket Entry # 182) at 1; see

also Suppression Hearing Tr. 116-17.) Thus, Bourne’s request for access to the original

recordings is now denied as moot.

       With regard to any additional testing or inspection of the recording equipment, Bourne’s

motion is denied. Bourne has offered no evidence tending to show that further inspection will

expose evidence of tampering and is thus material to preparing Bourne’s defense. See Fed. R.

Crim. Pro. 16(a)(1)(E). In the absence of such evidence, any further inspection of the audio

recordings or the equipment used to make them is unwarranted. See United States v. Terry, 702

F.2d 299, 312-13 (2d Cir. 1983) (after defendant was provided with copies of tapes and offered



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the opportunity to have his expert examine originals in the Government’s presence, denying

further access to original recordings “[i]n the absence of any plausible evidence indicating an

alteration or distortion of what was recorded on the tapes and in light of the trial court’s finding

of authenticity and accuracy”); United States v. Fuentes, 563 F.2d 527, 532-33 (2d Cir. 1977)

(rejecting defendant’s objection to the admission of an audio recording where there had been no

expert examination confirming evidence of tampering and defendant’s objection was based on

speculation). Although the court will not compel any further discovery on this issue based on

Bourne’s speculation alone, if the initial expert inspection of the original recordings uncovers

evidence that may be relevant to this issue, Bourne may file a new motion.

               2.      Motion to Suppress Wiretap Evidence

       Bourne moves to suppress evidence gathered through the court-authorized wiretaps of

Roberts’s and Beckford’s telephones, on two grounds. (Bourne Mem. at 3.) First, Bourne

argues the Government’s wiretap applications failed to establish probable cause because they

were not based on reliable and complete information. (Id. at 19-26.) Second, Bourne argues that

the Government failed to establish that a wiretap order was necessary because other investigative

techniques were likely to fail. (Id. at 26-33.) The Government opposes this motion. (Gov’t

Mem. Opp. Bourne)

       Wiretap authorizations are governed by 18 U.S.C. § 2518.

       [A] federal court may issue a wiretap order under 18 U.S.C. § 2518 if it
       determines, on the basis of the facts submitted by the applicant, that there is
       probable cause to believe (1) that an individual was committing, had committed,
       or is about to commit a crime; (2) that communications concerning that crime will
       be obtained through the wiretap; and (3) that the premises to be wiretapped were
       being used for criminal purposes or are about to be used or owned by the target of
       the wiretap.




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United States v. Diaz, 176 F.3d 52, 110 (2d Cir. 1999). The existence of probable cause is

determined based on the totality of the circumstances. Id. (citing Illinois v. Gates, 462 U.S. 213,

230-32 (1983)).

       In addition to its probable cause requirements, § 2518 requires a wiretap applicant to

submit a “full and complete statement as to whether or not other investigative procedures have

been tried and failed or why they reasonably appear to be unlikely to succeed if tried or to be too

dangerous,” 18 U.S.C. § 2518(1)(c), and requires the authorizing judicial officer to determine

that “normal investigative procedures have been tried and have failed or reasonably appear to be

unlikely to succeed if tried or to be too dangerous,” 18 U.S.C. § 2518(3)(c). This requirement is

“designed to assure that wiretapping is not resorted to in situations where traditional

investigative techniques would suffice to expose the crime.” United States v. Kahn, 415 U.S.

143, 153 n.12 (1974). Nonetheless, the Second Circuit has held that “the purpose of the statutory

requirements is not to preclude resort to electronic surveillance until after all other possible

means of investigation have been exhausted by investigative agents; rather, they only require that

the agents inform the authorizing judicial officer of the nature and progress of the investigation

and of the difficulties inherent in the use of normal law enforcement methods.” United States v.

Torres, 901 F.2d 205, 231 (2d Cir. 1990) (noting that “the apprehension of so-called ‘satellites’

involved in the distribution scheme and the determination of the dimensions of an extensive drug

conspiracy have been held to justify the use of electronic surveillance”).

       In authorizing these wiretaps, Judge Gleeson found that all five of the Government’s

applications complied with these requirements. And, in considering Bourne’s motion to

suppress, the court affords deference to the issuing court.




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       Where a defendant moves to suppress evidence obtained pursuant to a judicially

authorized wiretap on the grounds that the wiretap application was not supported by facts

sufficient to establish probable cause, or on the grounds that the Government failed to establish

that traditional investigative techniques were reasonably likely to be unsuccessful, the trial court

reviews the wiretap application only to determine whether the facts set forth by the Government

were “minimally adequate” to support the issuing court’s order. United States v. Concepcion,

579 F.3d 214, 217 (2d Cir. 2009) (holding that trial judge who suppressed evidence obtained

under wiretap authorization issued by different district judge failed to accord sufficient deference

to the issuing judge’s determination to issue the wiretap authorization). A court reviewing a

wiretap authorization issued by another court must accord “considerable deference to the district

court’s decision whether to allow a wiretap, ensuring only that ‘the facts set forth in the

application were minimally adequate to support the determination that was made,’” Id. (quoting

United States v. Miller, 116 F.3d 641, 663 (2d Cir. 1997)); see also United States v. Wagner, 989

F.2d 69, 72 (2d Cir. 1993) (“The reviewing court’s determination should be limited to whether

the issuing judicial officer had a substantial basis for the finding of probable cause.”).

       In accordance with this standard, the court must give Judge Gleeson’s determination as to

the sufficiency of the wiretap applications considerable deference. The court finds that the

information in the Government’s wiretap applications was at least “minimally adequate” to

support Judge Gleeson’s determination that the requirements of § 2518 were satisfied. Bourne’s

motion to suppress the wiretap recordings is therefore denied.




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         E.       Bourne’s Pro Se Motions

         By letter to the court, Bourne submitted a series of pro se motions in addition to those

filed by his attorney.7 At the pretrial motions hearing on August 26, 2011, the court provided

Bourne’s counsel with these submissions and instructed that all motions should be made through

counsel. (Pretrial Mot. Hearing Tr. at 20-21.) Defense counsel compiled Bourne’s pro se

motions and filed them along with a letter summarizing and emphasizing several of Bourne’s

arguments. (Bourne Letter re Pro Se Mot. (Docket Entry # 208).)

         The court has reviewed defense counsel’s letter and all of Bourne’s pro se letters attached

thereto. Several of Bourne’s pro se motions supplement the motions made through counsel

regarding wiretap evidence. (Bourne Letter re Pro Se Mot. at 1-2, Exh. C, D, F.) The court has

addressed this issue in Part II.D supra, and any additional requests made in Bourne’s pro se

motions regarding the wiretap recordings are denied. Bourne’s pro forma motion for discovery

in connection with a GPS tracking (id. Exh. A) device is also denied. The response of the

Government satisfies the court that there is no basis for the relief sought.8 Finally, with regard to

Bourne’s argument in several of his letters that the Government “has presented false evidence”

with regard to telephone records involving Oneal Roberts and Clive Beckford, the Government

has filed a voluminous response, including significant supporting documentation, which the

court finds sufficient to refute the “false evidence” claims. (Gov’t Opp. to Pro Se Mot. (Docket

Entry # 229).) The court has considered Bourne’s additional pro se motions not specifically

addressed here and finds them meritless. These motions are also denied.



7
          Bourne’s pro se motions are not docketed or filed on ECF individually.
8
          Defense counsel does not contest the Government’s representation that “no evidence was developed as a
result” of the device, but asserts Bourne’s motion “in order to preserve Mr. Bourne’s rights should information
develop at trial that contradicts the Government’s position.” (Bourne Letter re Pro Se Mot. at 1.) Defendant is free
to make a motion through counsel at the appropriate time if any such information develops.

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       The court reiterates that any future communications that Bourne directs at the court must

be made through counsel, unless the purpose of the communication is to express concern about

the counsel’s effectiveness in representation.

III.   GOVERNMENT’S PRETRIAL MOTIONS

       A.        Motion to Admit Evidence of Bourne’s Other Acts

       The Government moves to admit evidence of several acts allegedly committed by

Bourne, but not charged in the S-5 Indictment. Specifically, the Government seeks to introduce

evidence of “(1) three large-scale shipments of marijuana from Jamaica to Barbados coordinated

by Bourne between 2007 and 2009; (2) one attempted shipment of cocaine; (3) Bourne’s assault

of Aaron Grieves in 2004; (4) Bourne’s request of a cooperating witness to purchase a handgun

and his possession of a handgun on three occasions[;] and (5) the disappearance of a member of

Bourne’s organization in Barbados in 2008.” (Gov’t 404(b) Mot. (Docket Entry # 205) at 1.)

The Government argues that evidence of these acts is admissible as direct evidence of the

charged crimes and, additionally, that this evidence is admissible under 404(b). (Id.; Gov’t

404(b) Reply (Docket Entry # 226).) Bourne opposes the motion. (Bourne 404(b) Opp. (Docket

Entry # 213).)

                 1.    Applicable Law

                       a.     Permissible Purposes of Uncharged Crime Evidence

       Evidence of uncharged acts may be admissible, subject to the limitations imposed by

Rules 403 and 401 discussed infra, on either of two possible bases.

                              i.       Non-404(b) Purposes

       Evidence of uncharged acts is admissible, outside of the strictures of Rule 404(b), as

direct evidence of the charged crimes, where such acts “arose out of the same transaction or



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series of transactions as the charged offense, if it is inextricably intertwined with the evidence

regarding the charged offense, or if it is necessary to complete the story of the crime on trial.”

See United States v. Carboni, 204 F.3d 39, 44 (2d Cir. 2000). Accordingly, in conspiracy cases,

any act “that is alleged to have been done in furtherance of the alleged conspiracy” is considered

“part of the very act charged.” United States v. Diaz, 176 F.3d 52, 79 (2d Cir. 1999) (internal

quotation marks and alterations omitted); see also United States v. Thai, 29 F.3d 785, 812 (2d

Cir. 1994) (“When the indictment contains a conspiracy charge, uncharged acts may be

admissible as direct evidence of the conspiracy itself.”).

                                   ii.      Admissibility Under Rule 404(b)

          Evidence of uncharged crimes may also be admissible under Federal Rule of Evidence

404(b):

          Evidence of other crimes, wrongs, or acts is not admissible to prove the character
          of a person in order to show action in conformity therewith. It may, however, be
          admissible for other purposes, such as proof of motive, opportunity, intent,
          preparation, plan, knowledge, identity, or absence of mistake or accident[.]

Fed. R. Evid. 404(b). The Second Circuit has adopted an “inclusive” approach to Rule 404(b)

evidence. United States v. Stevens, 83 F.3d 60, 68 (2d Cir. 1998). Accordingly, evidence of

other acts may be admitted for “any purpose except to show criminal propensity,” subject to the

limitations of Rule 403. United States v. Germosen, 139 F.3d 120, 127 (2d Cir. 1998) (internal

citation and quotation marks omitted). Rule 404(b)’s list of permissible purposes for the

admission of other act evidence is “nonexhaustive.” United States v. Levy, 731 F.2d 997, 1002

(2d Cir. 1984).9


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         Before other act evidence may be admitted under Rule 404(b), the court must consider whether it is offered
for a proper purpose, whether it is relevant to a disputed issue, and whether its probative value is substantially
outweighed by its possible prejudicial effect. See United States v. Edwards, 342 F.3d 168, 176 (2d Cir. 2003).
Furthermore, if such evidence is admitted, the court must administer an appropriate limiting instruction if one is
requested. See id.; United States v. Pitre, 960 F.2d 1112, 1119 (2d Cir. 1992).

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       Among other reasons, other acts evidence may be admissible under Rule 404(b) to

“complete the story of the crimes charged,” to “help explain to the jury how the illegal

relationship between the participants in the crime developed,” United States v. Williams, 205

F.3d 23, 33-34 (2d Cir. 2000), or to explain “the mutual trust that existed between

coconspirators,” United States v. Rosa, 11 F.3d 315, 334 (2d Cir. 1993). Other acts evidence is

also admissible to corroborate other testimony, to the extent the Government demonstrates that

“the corroboration is direct and the matter corroborated is significant.” United States v. Everett,

825 F.2d 658, 660 (2d Cir. 1987).

                       b.     Rule 403

       Even if evidence is relevant and potentially admissible for one of the foregoing purposes,

the court must also consider its admissibility under Federal Rule of Evidence 403. Under Rule

403, relevant evidence “may be excluded if its probative value is substantially outweighed by the

danger of unfair prejudice, confusion of the issues, or misleading the jury, or by considerations

of undue delay, waste of time, or needless presentation of cumulative evidence.” Fed. R. Evid.

403. “The term ‘unfair prejudice,’ as to a criminal defendant, speaks to the capacity of some

concededly relevant evidence to lure the factfinder into declaring guilt on a ground different

from proof specific to the offense charged.” Old Chief v. United States, 519 U.S. 172, 180

(1997). Evidence is considered prejudicial if it tends “unfairly to excite emotions against the

defendant.” United States v. Figueroa, 618 F.2d 934, 943 (2d Cir. 1980). Accordingly, evidence

that is more “inflammatory,” “sensational,” or “disturbing” than the conduct charged is likely to

be found unfairly prejudicial. United States v. Mercado, 573 F.3d 138, 145 (2d Cir. 2009);

United States v. Pitre, 960 F.2d 1112, 1120 (2d Cir. 1992); see also United States v. Williams,

585 F.3d 703, 708 (2d Cir. 2009) (the Government should not be permitted to introduce into



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evidence “unsavory details which go beyond what is necessary to make the point”). In

conducting the required Rule 403 balancing, the court should consider whether any evidentiary

alternatives exist, which are similarly probative but less prejudicial to the defendant. Old Chief,

519 U.S. at 182-83; see also United States v. McCallum, 584 F.3d 471, 477 (2d Cir. 2009). The

court must also take into account, however, “the offering party’s need for evidentiary richness

and narrative integrity in presenting a case,” Old Chief, 519 U.S. at 183.

                       c.        Relevance

       For other acts evidence to be considered relevant under Federal Rule of Evidence 401,

the Government must show that a jury could “‘reasonably conclude that the act occurred and that

the defendant was the actor.’” United States v. Gilan, 967 F.2d 776, 780 (2d Cir. 1992) (quoting

Huddleston v. United States, 485 U.S. 681, 689 (1988)). This standard does not require the

Government to prove Bourne’s involvement in the alleged other acts by a preponderance of the

evidence. Huddleston, 485 U.S. at 690. Nonetheless, the court must determine whether the jury

“could reasonably find” such involvement by a preponderance of the evidence. Id. Therefore, in

this pretrial stage, the court requires at least some proof that an act was committed and that

Bourne had a role in that act.

               2.      Application

                       a.        Bourne’s Request for Mini-Hearings

       As an initial matter, in his opposition to the Government’s motion to admit the foregoing

evidence, Bourne requests that the court “conduct in limine hearings . . . in order to assess the

relevance of such evidence and to conduct the requisite balancing test pursuant to Federal Rules

of Evidence 404(b) and 403.” (Bourne 404(b) Opp. at 1, 6-7.) The Government’s proffers and

the other information contained in the parties’ briefs provided the court with a sufficient basis to



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find the above information relevant under Rule 401 and make admissibility determinations as

stated below. Bourne’s motion for in limine hearings on this issue is therefore denied.

                         b.       Shipments of marijuana and cocaine

       The Government seeks to introduce evidence of three large-scale shipments of marijuana

and one shipment of cocaine. (Gov’t 404(b) Mot.; Gov’t 404(b) Reply.) The Government

proffers that it expects a cooperating witness, who had been involved with the Bourne

organization’s marijuana trafficking since 2006, to testify that in or about April 2009, Bourne

“began arrangements for a large-scale shipment of approximately 30 to 50 kilograms of cocaine

to be shipped from Trinidad” to New Jersey in a cargo container and instructed the cooperating

witness to take actions in furtherance of this scheme. (Gov’t 404(b) Reply at 2-3.) The

Government also states that it expect to elicit evidence, including testimony from a cooperating

witness, that Bourne, who was in the Eastern District of New York, arranged for several large-

scale shipments of marijuana between Jamaica and Barbados. (Id. at 3.) It proffers that “[i]n the

course of at least one such transaction, Bourne shipped marijuana in a container” from his

business in Brooklyn to his business in Barbados. (Id.)

       Evidence of these alleged drug shipments is admissible outside of the strictures of Rule

404(b) because they are part of the charged conduct. Count One of the S-5 Indictment charges

Bourne with continuing criminal enterprise, including violations that encompass these

transactions.10 (S-5 Indictment ¶¶ 16 (Violation One: Conspiracy to Import Cocaine), 20

(Violation Five: International Marijuana Conspiracy).) Furthermore, even if these alleged drug

shipments were “uncharged,” they are “inextricably intertwined” with the charged conduct and

would be admissible on that basis. The probative value of this evidence far outweighs any



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       These violations are also charged as separate counts in the indictment. (S-5 Indictment ¶¶ 29, 37.)

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potential risk of prejudice, as these allegations are no more serious or inflammatory than the

other charged conduct. See United States v. Williams, 205 F.3d 23, 34 (2d Cir. 2000).

                       c.     Uncharged weapons crimes

       The Government also seeks to introduce testimony of two cooperating witnesses to show

that Bourne engaged in a series of uncharged acts involving weapons. (Gov’t 404(b) Mot. at 4.)

The Government proffers that cooperating witnesses will testify that they observed Bourne

carrying a weapon, once in 2003 and once in 2008, “for protection” in connection with his drug

business. (Id.) One cooperating witness is further expected to testify that Bourne asked him to

purchase an additional weapon for him after members of the marijuana DTO were robbed, and

that on a separate occasion Bourne expressed interest in getting a weapon in order to retaliate

after an individual shot at him and the cooperating witness. (Id.)

       The Second Circuit has “repeatedly approved the admission of firearms as evidence of

narcotics conspiracies, because drug dealers commonly keep firearms on their premises as tools

of the trade.” United States v. Becerra, 97 F.3d 669, 671-72 (2d Cir. 1996) (quoting United

States v. Vegas, 27 F.3d 773, 778 (2d Cir. 1994). Here, these alleged actions involving weapons

were taken in furtherance of the continuing criminal enterprise, and are admissible as evidence of

the charged conduct. Furthermore, these acts are admissible as “tools of the trade” proof of the

narcotics conspiracy, as proof of the relationships of trust between Bourne and his

coconspirators, and to complete the story of the crimes charged. Far from “sensational” or

“disturbing,” testimony that an alleged leader of an international drug trafficking organization

possessed or wanted to possess a firearm on several occasions should come as no surprise to

juror, and the court finds that such evidence will not unfairly prejudice the Defendant. The




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probative value outweighs any risk of prejudice, and the Government may introduce evidence of

this conduct.

                          d.       Uncharged crimes of violence

                                   i.       Assault of Aaron Grieves

        The Government also proffers that a cooperating witness “is expected to testify that in

2004, Bourne physically assaulted a fellow American Airlines employee, Aaron Greaves,

because Bourne accused Greaves of stealing two kilograms of cocaine from him. This act of

violence forced Greaves to pay Bourne for the missing cocaine.” (Gov’t 404(b) Mot. at 3.)

        Although the S-5 Indictment references threats and violence allegedly made by Bourne

and other members of the Bourne Organization (see S-5 Indictment ¶ 8),11 it does not charge

Bourne with any crime of violence. Nonetheless, evidence about the Grieves incident is

admissible for non-404(b) purposes. The alleged assault on Grieves, while serious, is no more

inflammatory than the charged conduct, including running a large-scale drug trafficking

organization. The assault was done in furtherance of the continuing criminal enterprise,

indicates Bourne’s leadership role and his participation, and is inextricably tied to the charged

conduct. Although there is some risk of prejudice, the high probative value of this testimony

outweighs it. Additionally, “it is not unreasonable to infer that jurors might infer the existence of

at least some violence” in a large-scale international DTO alleged to have operated for some nine

years. See United States v. Khan, 591 F. Supp. 2d 202, 206 (E.D.N.Y. 2008). Evidence of the

alleged assault on Aaron Grieves is therefore admissible.




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         As background information, in describing the alleged Bourne Organization scheme, the indictment states:
“Members of the BOURNE Organization, including VICTOR D’ACOSTA BOURNE, employed threats and the
actual use of violence in order to maintain discipline and deter members of the organization from cooperating with
law enforcement.” (S-5 Indictment ¶ 8.)

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                              ii.     Missing Person in Barbados

       Finally, the Government seeks to introduce testimony of a cooperating witness about the

disappearance of a member of the Bourne Organization in Barbados. (Gov’t 404(b) Mot. at 4.)

The witness is expected to testify that Bourne took credit for this individual’s disappearance,

stating that “because the individual had stolen 150 pounds of marijuana from [Bourne], he

‘wasn’t coming back’ because [Bourne] ‘had taken care of him.’

       The court need not address the admissibility of testimony about this incident under 404 or

otherwise, because Rule 403 precludes its admission. The cooperating witness’s testimony

strongly implies Bourne’s involvement in murder, a crime that is more serious than those

charged. Admission of this testimony would be highly inflammatory and unfairly prejudicial.

To the extent that this evidence would be probative of Bourne’s leadership role and methods of

enforcing control over the Bourne organization, testimony regarding the assault on Aaron

Grieves (which also allegedly occurred in retaliation for stealing drugs from Bourne) provides a

less prejudicial evidentiary alternative. See United States v. McCallum, 584 F.3d 471, 477 (2d

Cir. 2009) (“‘[T]he availability of other, less prejudicial, evidence on the same point ordinarily

reduces the probative value of a given item of extrinsic evidence.’”) (quoting 2 Weinstein,

Federal Evidence § 404.21 (Joseph M. McLaughlin ed., Mathew Bender & Co. 2009)). Even

taking the Government’s need for evidentiary richness into account, the risk of undue prejudice

outweighs the probative value of this evidence. See United States v. Khan, 591 F. Supp. 2d at

206 (excluding evidence of uncharged murder where defendant was “not charged with any

crimes of violence, intimidation, or firearms” under Rule 403). The Government is therefore

precluded from admitting evidence of Bourne’s alleged involvement in the disappearance of this

individual in Barbados.



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        B.       Motion to Admit Bourne’s Statements

        In its case against both Defendants, the Government seeks to rely on statements that

Bourne allegedly made in (1) two letters written to Alleyne from prison, and (2) conversation

with a cooperating coconspirator during the course of the conspiracy. (Gov’t Mot. in Limine

(Docket Entry # 219) at 1-9.) Defendants have submitted separate responses in opposition to the

Government’s motion. (Alleyne Opp. to Motion in Limine (Docket Entry # 230); Bourne Opp.

to Mot. in Limine (Docket Entry # 231).)

                 1.       Bourne’s Letters to Alleyne

        During the October 14, 2011 search of Alleyne’s residence, agents recovered two

handwritten letters that the Government contends Bourne wrote to Alleyne from prison,

following his arrest.12 (Gov’t Mot. in Limine at 1-2, 4; see Gov’t Mot. in Limine Exh. A, B

(handwritten letters).) The Government seeks to introduce excerpted portions of these letters in

order to show that Bourne was directing Alleyne as to the movement of assets including several

commercial properties. The Government states that these portions of the letters are “admissible

as Bourne’s inculpatory statements concerning the crimes charged and as statements in

furtherance of the money laundering conspiracy between Bourne and Alleyne.” (Id. at 4.) The

Government, however, argues that the court should preclude the introduction of other portions of

these letters, in which Bourne makes arguably exculpatory statements. (Id. at 6.)

        Alleyne argues that there is no basis for the introduction of these letters against her; and

both Defendants argue that, if any part of the letters is admitted, they should be admitted in their

entirety, not in excepted form, in the interest of fairness and completion. (Alleyne Opp. to

Motion in Limine at 1-2; Bourne Opp. to Mot. in Limine at 3-4.) Additionally, Bourne correctly


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         At the time the letters were written, neither Bourne or Alleyne had yet been indicted on money laundering
charges. (See Gov’t Mot. in Limine at 5.)

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contends that the Government must authenticate the letters prior to their introduction. (Bourne

Opp. to Mot. in Limine at 1-4.)

        Assuming that the Government can meets its burden under Federal Rule of Evidence 901

and properly authenticate the letters at trial, the court finds that they are admissible against

Bourne, pursuant to Rule 801(d)(2)(A), and against Alleyne, pursuant to Rule 801(d)(2)(E). Fed.

R. Evid. 801, 901. Defendants’ remaining arguments about the reliability of the content of

letters goes to the weight of the evidence, not its admissibility. Consistent with Rule 106,

however, the letters must be introduced in their entirety, not in excerpted form. Fed. R. Evid.

106. The portions the Government seeks to omit will serve to place the other statements “in

context, to avoid misleading the jury, [and] to ensure fair and impartial understanding of the

admitted portions.” United States v. Jackson, 180 F.3d 55, 73 (2d Cir. 1999) (citations and

quotations omitted). If the Government chooses to introduce Bourne’s letters to Alleyne, both

parties will be free to argue to the jury as to the reliability the letters or specific portions thereof.

                2.      Bourne’s Statements to the Cooperating Witness

        The Government also seeks to rely on the testimony of a cooperating witness, who

allegedly participated in laundering the profits of the Bourne Organization’s marijuana

trafficking scheme. (Gov’t Mot. in Limine at 1-2, 7.) The witness is expected to testify that,

during the course of the conspiracy, Bourne made statements about his drug trafficking and

methods of hiding the profits of his illegal activities. (Id. at 7.) Among other things, the witness

is expected to testify that Bourne told him that he hid his ownership of commercial properties by

listing these properties in Alleyne’s name. (Id.) Alleyne opposes introduction of testimony

recounting statements that implicate her, arguing inter alia that the statements of a cooperating

witness are unreliable hearsay that raise Confrontation Clause problems. (Alleyne Opp. to



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Motion in Limine at 3-4.) Bourne has not submitted any objection to this aspect of the

Government’s motion.

        The court finds that this cooperating witness’s proffered testimony about Bourne’s

statements made during the course of the alleged conspiracy are admissible against Bourne,

pursuant to Rule 801(d)(2)(A), and against Alleyne, pursuant to Rule 801(d)(2)(E). Fed. R.

Evid. 801. Admission of this testimony against Alleyne does not raise a Confrontation Clause

problem. Bourne’s statements to the cooperating witness were made during the course of the

conspiracy, not in a custodial or post-arrest context. See United States v. DeVillio, 983 F.2d

1185, 1193-94 (2d Cir. 1993) (no Bruton violation where “the statements at issue fall within the

purview of Rule 801(d)(2)(E) and were admissible as statements made ‘in furtherance of’ the

conspiracy”); United States v. Nouri, 07-CR-1029 (DC), 2009 WL 1726229, at *1 (S.D.N.Y.

June 17, 2009) (collecting additional cases and noting that this principle is unaffected by

Crawford v. Washington, 541 U.S. 36 (2004)). Moreover, “the Confrontation Clause simply has

no application” where, as here, hearsay statements are non-testimonial.13 United States v.

Williams, 506 F.3d 151, 156 (2d Cir. 2007) (affirming the admission of non-testimonial co-

defendant statements) (quotations and citations omitted).

        Alleyne’s additional arguments as to the cooperating witness’s reliability and her

suggestions that his testimony may be “bias[ed]” or tailored to “curry favor with the

Government” (Alleyne Opp. to Motion in Limine at 3), go to the weight of his testimony, not its

admissibility. These issues may be properly addressed on cross-examination or in counsel’s

arguments to the jury.




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        Alleyne does not, nor could she, argue that the statements at issue are testimonial. (See Alleyne Opp. to
Motion in Limine at 2.); see also United States v. Williams, 506 F.3d at 157.

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        C.      Motion to Preclude Defense from Questioning Government’s Motives

        The Government moves to preclude Alleyne from making “arguments concerning the

government’s motivation for prosecuting her and the timing of her prosecution.” (Gov’t Mot. in

Limine at 9-10.) On May 23, 2010, prior to Alleyne’s arrest but after Bourne’s, she was stopped

by a Customs Border Protection officer at JFK airport. (Id.) The officer recovered a number of

items from Alleyne’s luggage and her person, including photographs of two Assistant United

States Attorneys assigned to this case, the names of several of federal judges, the names of

several cooperating witnesses, and an inmate identification card for an inmate incarcerated with

Bourne. (Id.) Alleyne later stated that she had traveled to Africa to have a man put a “hex” on

the Assistant United States Attorneys. (Id. at 10-11.) The Government seeks to preclude any

argument that the subsequent prosecution of Alleyne was vindictive or in retaliation for her

“hex” activities. (Id. at 11.)

        Alleyne states that she has no intention of making any argument that the Government’s

prosecution is retaliatory. (Alleyne Opp. to Motion in Limine at 4.) The Government states that

it does not intend to admit evidence related to the JFK stop or Alleyne’s “hex” activities in its

case in chief, “but reserves the right to use this evidence on cross-examination or in a rebuttal

case.” (Gov’t Mot. in Limine at 11 n.5.) Given the inflammatory nature of this information, no

party shall elicit testimony or admit other evidence on this issue at trial without the court’s prior

authorization. If the Government believes that defense counsel has opened the door to this line

of questioning, it shall make an application to the court outside of the presence of the jury, prior

to any mention of the alleged “hex” or related information.




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IV.    CONCLUSION

       As set forth above, the court GRANTS in part and DENIES in part the Government’s

motions in limine, and the court GRANTS in part and DENIES in part Defendants’ pretrial

motions. To the extent that the court does not address arguments raised by Defendants in their

submissions, the court has considered them and deems them to be either moot or without merit.

SO ORDERED.

                                                           /s/ Nicholas G. Garaufis
Dated: Brooklyn, New York                                  NICHOLAS G. GARAUFIS
       September 23, 2011                                  United States District Judge




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